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                                                                                  United States District Court
                                                                                    Southern District of Texas

                                                                                       ENTERED
                      UNITED STATES DISTRICT COURT                                    March 30, 2022
                  FOR THE SOUTHERN DISTRICT OF TEXAS                                Nathan Ochsner, Clerk
                               VICTORIA DIVISION
__________________________________________
                                           )
STATE OF TEXAS, STATE OF                   )
LOUISIANA                                  )
                                           )
                        Plaintiff,        )
      v.                                   )   No. 6:21-cv-00016
                                           )
UNITED STATES OF AMERICA, et al.          )
                                          )
                        Defendants.        )
__________________________________________)

                                               ORDER
       Upon consideration of Defendants’ Motion for Extension of Time for the Parties to file

their Post-Trial Brief Responses, the Court rules as follows:

       IT IS HEREBY ORDERED that the Parties shall file their post-trial brief responses no

later than April 6, 2022.


       It is SO ORDERED.

             30th 2022
       March ____,

                                                                  ___________________
                                                                  Drew B. Tipton
                                                                  United States District Judge




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